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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7
     DANIEL RAMIREZ MEDINA,
 8                                                        CASE NO. C17-218 RSM
                                 Petitioner,
 9
            v.                                            ORDER ADOPTING IN PART
10                                                        JUDGE DONOHUE’S R&R AND
     U.S. DEPARTMENT OF HOMELAND                          DENYING PETITIONER’S MOTION
11   SECURITY, et al.,                                    FOR CONDITIONAL RELEASE

12                               Respondents.

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            THIS MATTER comes before the Court on Petitioner’s Objections to the portion of the
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     Report and Recommendation (“R&R”) of the Honorable James P. Donohue, United States
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     Magistrate Judge, in which Judge Donohue has recommended the denial of Petitioner’s release
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     from immigration detention. Dkts. #64 at 34-44 and #66. Having reviewed such Objections, the
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     government’s response thereto, and the remaining record, the Court now ADOPTS that portion
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     of Judge Donohue’s R&R for the reasons set forth by Judge Donohue and for the additional
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     reasons discussed herein.
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            Just as Petitioner argued before Judge Donohue that his case is extraordinary and
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     involves special circumstances warranting relief, so too does he raise such arguments before this
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     Court in his Objections. Dkt. #66. He submits that Judge Donohue’s conclusion that he is not
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     entitled to conditional release is clearly erroneous. Dkt. #66 at 12. This Court disagrees.
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 1          As an initial matter, the Court notes that Petitioner must take some responsibility for the

 2   position he finds himself as of this date. Indeed, he has placed himself in the tenuous position of

 3   arguing that his arrest and detention have violated his constitutional rights, while also asserting

 4   that he is not challenging the revocation of his DACA status or “anything that has to do with the

 5   removal proceedings themselves.” Dkt. #62 at 52:4-7. That position ultimately leads this Court

 6   to agree with Judge Donohue that Petitioner is not entitled to release at this stage of the

 7   proceedings.

 8          Petitioner is now being held in immigration detention after U.S. Department of Homeland

 9   Security issued a Notice to Appear (“NTA”) in removal proceedings and a Notice of Custody

10   Determination that he is to be held without bond. Dkt. #32, Exs. 1 and 4. By Petitioner’s own

11   admission, he is not challenging “anything that has to do with the removal proceedings

12   themselves.” Thus, the Court agrees with the government, that even if the Court were to find this

13   case presents extraordinary circumstance and/or that Petitioner is highly likely to succeed on the

14   merits, he is not entitled to release. See Dkt. #68 at 2-4. DHS has the statutory discretion to

15   detain aliens during the pendency of their removal proceedings.         See 8 U.S.C. § 1226(a).

16   Further, as this Court has previously recognized, the remedy for an unlawful arrest in violation of

17   the Fourth Amendment is suppression of evidence. See INS v. Lopez-Mendoza, 468 U.S. 1032,

18   1040-41 (1984); United States v. Garcia-Beltran, 443 F.3d 1126, 1131-32 (9th Cir. 2006); see

19   also Martinez-Medina v. Holder, 673 F.3d 1029, 1033-34 (9th Cir. 2010) (noting that

20   exclusionary rule applies in civil removal proceedings only when the Fourth Amendment

21   violation is egregious). Indeed, the government recognizes that “an unlawful arrest can have

22   important consequences.” Dkt. #68 at 4. Similarly, the United States Supreme Court has

23   explained:

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 1                Irregularities on the part of the Government official prior to, or in
                  connection with, the arrest would not necessarily invalidate later
 2                proceedings in all respects conformable to law. “A writ of habeas corpus
                  is not like an action to recover damages for an unlawful arrest or
 3                commitment, but its object is to ascertain whether the prisoner can
                  lawfully be detained in custody; and if sufficient ground for his detention
 4                by the government is shown, he is not to be discharged for defects in the
                  original arrest or commitment.”
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     United States ex rel. Bilokumsky v. Tod, 263 U.S. 149, 158, 44 S. Ct. 54, 57 (1923) (citations
 6
     omitted). Likewise, the Supreme Court has noted that “[t]he ‘body’ or identity of a defendant or
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     respondent in a criminal or civil proceeding is never itself suppressible as a fruit of an unlawful
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     arrest, even if it is conceded that an unlawful arrest, search, or interrogation occurred.” INS v.
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     Lopez-Mendoza, 468 U.S. 1032, 1039, 104 S. Ct. 3479, 3483-84 (1984).
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            This Court acknowledges the unusual circumstances of this case and that many questions
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     remain regarding the appropriateness of the government’s conduct. However, while the Court is
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     sympathetic to the situation in which the Plaintiff finds himself, it can only conclude that he is
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     not entitled to immediate release under the posture of this case. Accordingly, should petitioner
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     desire release from his current detention, his avenue for seeking such release should occur in the
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     context of his removal proceedings, which by his own admission, are not being challenged here.
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            For all of these reasons, the Court ADOPTS that portion of Judge Donohue’s R&R
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     pertaining to Petitioner’s motion for conditional release (Dkt. #45) and DENIES the motion.
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     Should Petitioner desire a bond redetermination hearing, the Court once again directs the
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     government to schedule such a hearing no later than one week from the date of Petitioner’s
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     request.
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            The Court shall review Judge Donohue’s R&R with respect to Defendants’ Motion to
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     Dismiss pursuant to the schedule previously set for any Objections on that portion of the R&R.
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            ///
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 2       The Clerk shall send a copy of this Order to the parties and to Judge Donohue.

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 4       DATED this 24rd day of March 2017.

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 6                                            A
                                              RICARDO S. MARTINEZ
 7                                            CHIEF UNITED STATES DISTRICT JUDGE

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